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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :
LOONG CHEE MIN and FRANK J. FISH,      :              18cv10635 (DLC)
                                       :
                         Plaintiffs,   :            MEMORANDUM OPINION
                                       :                 AND ORDER
               -v-                     :
                                       :
LONGFIN CORP., VENKAT S. MEENAVALLI,   :
AMRO IZZELDEN ALTAHAWI, SURESH         :
TAMMINEEDI, DORABABU PENUMARTHI, and   :
NETWORK 1 FINANCIAL SECURITIES, INC., :
                         Defendants.   :
                                       :
-------------------------------------- X

DENISE COTE, District Judge:

    This is an action for federal securities and common law

fraud claims brought by two plaintiffs against defendants

Longfin Corp (“Longfin”), Venkata S. Meenavalli (“Meenavalli”),

Amro Izzelden Altahawi (“Altahawi”), Suresh Tammineedi

(“Tammineedi”), Dorababu Penumarthi (“Penumarthi”), and Network

1 Financial Securities Inc. (“Network 1”).       The plaintiffs filed

an amended complaint on February 8, 2019 (“FAC”).         The

allegations in the FAC are largely identical to those set forth

in the related federal securities class action before this

Court, In re Longfin Corp. Securities Class Action Litigation,

18cv2933 (filed Feb. 3, 2018).     On April 11, 2019, this Court

partially granted Network 1’s motion to dismiss the federal

claims brought against it in In re Longfin.        See In Re Longfin,

No. 18cv2933(DLC), 2019 WL 1569792 (S.D.N.Y. Apr. 11, 2019)
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(“April 11 Opinion”).    The background, legal standards, and

reasoning of the April 11 Opinion are incorporated by reference

in this Opinion.

    On February 1, 2019, Network 1 filed a motion to dismiss

the FAC pursuant to Rule 12(b)(6), Fed. R. Civ. P. and the

Private Securities Litigation Reform Act (“PSLRA”).         For the

reasons set forth in the April 11 Opinion, this motion is

granted as to the plaintiffs’ claim under Section 12(a)(1) of

the Securities Act of 1933 (the “Securities Act”) and denied as

to the plaintiffs’ claim under Section 10(b) of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b),

and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.

    In this action the plaintiffs also bring a common law fraud

claim under New York law against Network 1.        “The elements of

fraud under New York law are: [1] a misrepresentation or a

material omission of fact which was false and known to be false

by defendant, [2] made for the purpose of inducing the other

party to rely upon it, [3] justifiable reliance of the other

party on the misrepresentation or material omission, and [4]

injury.”   Premium Mortg. Corp. v. Equifax, Inc., 583 F.3d 103,

108 (2d Cir. 2009) (citation omitted).       “Rule 9(b) requires that

in alleging fraud or mistake, a party must state with

particularity the circumstances constituting fraud or mistake.”

United States ex rel. Ladas v. Exelis, Inc., 824 F.3d 16, 25 (2d

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Cir. 2016) (citation omitted).

    The FAC fails to state a claim for common law fraud against

Network 1 because it does not identify a misrepresentation or

omission by Network 1 relied upon by the plaintiffs, let alone

with the particularity required under Rule 9(b), Fed. R. Civ. P.

As discussed in the April 11 Opinion, the allegations at issue

here state a claim that Network 1 participated in a scheme to

defraud investors cognizable under Rule 10b-5.           The allegations

contained in the FAC do not, however, identify facts sufficient

to plead each element of common law fraud under New York law.



                                 Conclusion

    Network 1’s February 1, 2019 motion to dismiss is granted

as to the Section 12(a)(1) claim and the common law fraud claim,

and denied as to the Section 10(b) and Rule 10b-5 claim.



Dated:       New York, New York
             April 12, 2019


                              __________________________________
                                         DENISE COTE
                                 United States District Judge




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